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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

 TEDDY BILLIOT, ET AL.                                 CIVIL ACTION


 VERSUS                                                NO: 21-1144


 TERREBONNE PARISH SCHOOL                              SECTION: “J”(2)
 BOARD, ET AL.
                                     ORDER

      Considering the foregoing Motion to Extend 60 Day Conditional Dismissal

(Rec. Doc. 100),


      IT IS HEREBY ORDERED that the motion is GRANTED.


      IT IS FURTHER ORDERED that the period for either Plaintiffs or

Defendants to seek summary judgment enforcing the compromise, if it is not

consummated, is extended by thirty (30) days to August 11, 2022. During this

extended time period, the Court retains jurisdiction for all purposes, including

enforcing the settlement agreement agreed to by these parties.


      New Orleans, Louisiana, this 12th day of July, 2022.




                                            CARL J. BARBIER
                                            UNITED STATES DISTRICT JUDGE
